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SWORN CERTIFICATION OF PLAINTIFF

OVERSTOCK.COM, INC. SECURITIES LITIGATION

I, David Punturieri, certify that:

1. I have reviewed the Complaint and authorize its filing and/or the filing of a Lead Plaintiff
motion on my behalf.

2. I did not purchase OVERSTOCK.COM, INC., the security that is the subject of this
action, at the direction of plaintiff's counsel or in order to participate in any private action
arising under this title.

3s I am willing to serve as a representative party on behalf of a class and will testify at
deposition and trial, if necessary.

4. My transactions in OVERSTOCK.COM, INC. securities during the Class Period set
forth in the Complaint are as follows:

Date Transaction Quantity Unit Price
8/15/19 Buy 1,500 $16.7724
8/22/19 Buy 750 $21.6199

5. I have not sought to serve, nor served, as a representative party on behalf of a class under
this title during the last three years.

6. I will not accept any payment for serving as a representative party, except to receive my
pro rata share of any recovery or as ordered or approved by the court, including the award
to a representative plaintiff of reasonable costs and expenses (including lost wages)
directly relating to the representation of the class.

I declare under penalty of perjury that the foregoing are true and ¢ st

10/11/19

 

 

Date David turieri
